                    Case 3:15-cv-02159-VC Document 243 Filed 05/17/18 Page 1 of 8

                                                             OBJECTION FORM
The cJeadline to object to the Settlement has passed unless you received an email or mailed notice aboutthis Settlement
from Wells Fargo saying that you may object to the Settlement by May 14,2018.                       .
  1want to object to the Settlement in Jabbari v. Wells Fargo, No. 3:15-cv-02159 (N.D.^al) but remain amember of the
 class. I understand that ifI object to or comment on the Settlement I am still eligible for benefits.
You can ask the Court to deny approval by filing an objection. You can't ask the Court to order a larger settlement: the
Court can only approveor deny the Settlement. If the Court denies approval, no settlementpaymentswill be sent out and
the lawsuit will continue.

                   DON!T,FILE THIS FORM IF YOU WANTTO EXCLUDE YOURSELF FROM THE SEHLEMENT
                   don:t.fil

Printed Name: -[7/                                                        /i
                                                                                                                                   2_EElS-E4^


                                                                                                                          -IW
E-maili,:                                                                                                             < "Us. 11/
                                                                                                                /Vp/ V^' I
Telephone Number:

What ar§ the reasons you objectto the Settlement? Please prow^e any suppbrting materials.
                                                                                              doi'iS ch^S
                                                                                              / jie
                                                                                              r\^ 1a/w
Ol^ OlCCOJ^                      OfQ^Q.c/ OO-f \jJl0
Are you aware of any unauthorized Wells Fargo consumer and small tbusiness checkingicking accounts, consumer
                                                                                                    cc        and                     small
business savings accounts, or unsecured credit cards and unsecured lines of credit in your nai  or didVbu enroll in                   Wells
Fargo Identify Theft pratactii

no (Aor\€>/-Ja^ ^^
If gr», pjpagp pr(S\/iHfi tha
                                     I lytiL/     .1Cs^her,
                                                     • ' ' r '        I   v^QN<^^ •             ^ ik^s
                                                                                                1
                                                niUyt yflU'd&te ot opting, if known:                Mi/fl
                                I'        7B?a
Ar§ you^eingiq represented
               represented by"-atTattorngrr-
                           by an attorng^T
                                                         _
                                                                           eir^'1^ vy^'f» T             \
                                                                                                            j
If so, please supply their name and contact information below:




Do you or your attorney plan to                                approval hearing?                                      YES



Signature:                                                                                                                                      I
Date of SignaturerQ5332ar                                                                                                             Wl ftjh
You must mail your objection to the address below postmarked no later than May 14, 2018:

                                                                    COURT                                                                       IJ
                                                 Class Action Clerk/Judge Vince Cf lhabria
                                        Phillip Burton Federal Building & United Staites Courthouse
                                                             450 Golden Gate Avenue
                                                             San Francisco, CA 94102
                                                                                                                                                qJ.
Case 3:15-cv-02159-VC Document 243 Filed 05/17/18 Page 2 of 8
Case 3:15-cv-02159-VC Document 243 Filed 05/17/18 Page 3 of 8
Case 3:15-cv-02159-VC Document 243 Filed 05/17/18 Page 4 of 8
Case 3:15-cv-02159-VC Document 243 Filed 05/17/18 Page 5 of 8
Case 3:15-cv-02159-VC Document 243 Filed 05/17/18 Page 6 of 8
Case 3:15-cv-02159-VC Document 243 Filed 05/17/18 Page 7 of 8
15-cv-02159-VC Document 243 Filed 05/17/18 Pag
